Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 1 of 10 Page ID #:667




                              EX       IBIT A
Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 2 of 10 Page ID #:668
   Case 2:76-cv -03242-MWF-GJS Docum                           Filed 06/30/U Page 1of      9 page tD #:484


                 I     ScuDr & AyERs. LLp
              2

              3
                      il'if;i:fuH?lh$$,t"'J
              4       F$l#j $?qiili,:fdr
                                             r,    "'
                      [?,H56fl#fe*7"
              5
                      Attomeys for Plaintifl .Ro4u e "Roclq" De La Fuente
              6
             ,7

                                         IN THE              STATES DISTRICT COURT
             8
                                      FOR THE                  DISTRICT OF CALIFORNIA
             9

            l0
                      ROQUE 'T{OCKY' DE LA
                                                                    fiSlil9sz:to-cv-oszae-
                                                  P1
         l2
                     vs,
         13
                                                        ALEX        fl+{"tff#rrtgbff*ffi
         14

         15
                     iffiffi8$ffiffi                                P.LEADINGs/suMntArtV
                                                                   J^udge:$on. Miciaei W. Fitzserald
        16
                                                                   UtrN}: 5A
        17
                                                                   Ffilnf&tmuy24,2017
        18

        19

        20

        2L

        22




       27

       28



                                                                           DE(I AMT]ON OP RICIIARO WNC EN r.I
                     IN SUPPORT OF OPPOSITION TO         TOR ]IJDCM 6\T ON THE PLEADINCS/STJMMAR}
                                                                                                  JUDCMB\T
Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 3 of 10 Page ID #:669
   Case 2:16-cv-03242-N,,tWF-cJS Docu                    nt 63-3 Filed 06/30/17 page 2 of       9 page tD #;485


                 1     I, RICHARD WINGER,
                 2            1.     I am over the       of 18 and competent. I have personal knowledge
                                                                                                                  of the
                 3     facts stated in this declarati     and, if sworn as a witness, could testily
                                                                                                          competently
                 4     thereto. I do her,eby make         declaration to be used in the abov€-entitled
                                                                                                             casg and
              5       being duly swora depose and           as follows:
              6              2.     I earnedmy           or ofAfls in political S ci€nca at University
                                                                                                         of California.
             '7       Belkeley in 1 966, and cond          graduate studies in political Science
                                                                                                    at University of
             8        California, Los Aageles from 966 throvgh 1967.
                                                                     I am the crcatol and           E ditor of Ballot
             9 Access News , afree ard.non-p
                                                              ntem€t and paper publication regar ding American
            10        ballot access news nationwide.     \pdate the Ballot Access News daily, andlproduce
                                                                                                                   and
            11        distibute the paper publi          on a monthly basis. I b egaa Ballot Access
                                                                                                         News in 1 9 g5
                      and continue to operate the        ication to date. I am cutrently on the
                                                                                                  Editodal Board of
         13          Election Law Journa| the               peer-reviewed publication oo election
                                                                                                          desisn and
         l4 refom. A aue and ooffect                      ofmy curenl C Z is attached hereto as Exhibit 1.
        15                  3.
                         I have dedicated 5 years to the study ofelection
                                                                          law and ba1lot access. I
         16 pdmarily rely on my own
                                               and investigation, as there were very few
                                                                                           fomal
        17 tesources ol the topic when I
                                                 my studies in the field. My research generally
        l8 consists of the following        ypracuces:
        19                  4.     I started in 1965     rcquesting all ofthe election codes from
                                                                                                         each ofthe
        20           state govelnment offices via        , I researched the origin and legislative mtent
                                                                                                              of€ach
        2l           state's ballot access latvs using    Stanfordlawlibrarystacks. Thc Stanford had
                                                                                                              copies
       22         of all the past election codes           related statutes. I researched the publications
                                                                                                                   of
       23         nationally organized mi[or                dating back to the late 19th century, In
                                                                                                            studyitrg
                  mrnorparties, I also examined           valious ballot access sLruggles rhey encouorered.
       25         I have collected electionrctums            to 1870 for all states, for all statewide offices,
                                                                                                                  and
       26        U.S, House of Representalives,          I have collected data about the number ofregistered
       27        voters in each state dating back           ximalely 50 years (data collection beyond
                                                                                                           that time
       28        fi"me often does not exist is or         iqaccufate). This data made it possible
                                                                                                          for me to


                  IN SUPIORT OF OPPOSIT]ON TO                  _^.._.._ ON   pEqsAr roN orEci{RD\ rNcER nr
                                                          "^. -U'UMlNT
                                                          .UK J         -.. TI{E PLPADINCS/SIJMMAJ{}
                                                                                                         JL'DCN4ENT
Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 4 of 10 Page ID #:670
   Case 2t16-cv-03242-t\4WF-cJS Docrrm                     63-3 Filed 06/30/17 page3ofg page tD#:486



                 I      calculate the lumbel ofsigna         for all past presidential elections, as
                                                                                                       well as midterm
                 2     elections, for. statewide office I have
                                                                 studied countlass publications, acaclemic
                                                                                                              aftic1es,
                 3     essays, compendiums on            access laws, including a pafiiaulady
                                                                                                 essential reference
                 4     bookpublished in the 1910,s          desclibed all the state ballot access 1aws.
                 5            4.    Based on these           ods, and additional researoh, I have complled
                                                                                                                       an
                 6     Appendix titted ,,Ust  ollnstan     When States Required More than 5,000
                                                                                                        Sigtraturcs for
             7         Presiden! Together with Li        of ?etitioning Presidential Candidates Who Met
                                                                                                                  that
             8         Requiremenl', which, as stated shows historically
                                                                             how many independent presidential
             9         candidates and newly               parties haye been put on stale prcsidential
                                                                                                            ballot via
            10        petition requidng more tha11 5, 00 sigmtules.
                                                                         A t:ue and corect copy ofthat Appendix
            tl        is attached hereto as Exhibit 2     ereinaft er,'?ppendix,).
         t2                  5, I have been reco           zec as an experl witness in the areas ofoutsider
         l3           candidates and ballot access       fbderal coufis in Alabama, Alkansas, California,
                                                                                                                New
         I4 York, and Oklahoma. I have                           as a commentator on ballot access
                                                                                                   on NB C. ABC.
                      CNN, and NPR. I have been              published and have had the privilege
                                                                                                        ofappearing
        t6 rn several speaking                           . A morc complete list ofmy publications,
                                                                                                         restrmonial
        17           and exped teslimonial                  and speaking engagements is included in
                                                                                                          Exhibit 1 .
        l8                  6.     The purpose of        declaration is to show through histolioal eyidence
                                                                                                                that,
        l9           if a state rcqufues even sligh         more than 5,000 signatwes for an independent
        20           plesidential candidate or th€        dential candidate of an unqualified (i.e. minof) party
        2l to get on tie ballot, it will                  have an overcrowded presideatial generai
                                                                                                            election
                     ballot. Additionalty, tlds            ion is intended to demonstrate thatr basod
                                                                                                             on the
                     historical rccol d, the signature   uu ements specifical ly imposed by Califomia
                                                                                                           Election
                     Code on independent presidenti       candidates is wildly excessive, ifthe actual
                                                                                                           purpose
       25            is to pr€yent an overcrow<led b        or voter confusion, or to tequit€ the candidate
                                                                                                                  to
                 demonsfate a modicum of sup
       27                  7. The fust presidential        ion in which any state used govenment_pl.inted
       28
            ll ballots was rhe 1892 election.              a state goval.rment takes responsibility
                                                                                                        for p nting


                     IN SUI'PORT OF OPPOS]TION TO                            orcllner rolr os nrcue6rvnidEih
                                                          f()x rtrDC\4ENT O\ I He pLEaONCSistam,tan y
                                                                                                         tuocMENt
Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 5 of 10 Page ID #:671
    Case Z!6-1V-O3242-MWF-GJS Docu                            63-3 Filed 06/30/17 page4ofg paqe tD #:4Bz



                     I general election ballots, it          Ilave a law goveniag how candidates
                                                                                                         get on the ballot.
                 2      As of2012, there were 1,459
                                                                     when a state held a presidenlial general
                                                                                                                  electio4
                 3     andused a govemment                  ballot. Out ofthose l,459instances,
                                                                                                     ill 1,05g ofthem, the
                 4     state provided some mesns            an independent presidential
                                                                                           candidate, or the nominee of
                 5     an unqualified pady, to get          the batlot with a shorvilg of
                                                                                              support of 5,000 voters or
                 6     fewer. In o tb e[ words, in tb ese
                                                            ,058 hstances, the stateprovided
                                                                                                   "outsider,,pr€sidential
                 7     candidates with access to the
                                                                  election ballot with either no petition,
                                                                                                             or a petrtion
               8       that lequired a number ofsi
                                                                  ranging flom 25 signaturcs to 5,000
                                                                                                            signatures.
               9              8.     Themost                general election ballot for president
                                                                                                      in U. S. hisiory was
            l0 tbe Colorado's general ballot                  2016 , That yea\ twenfy-two candidates
                                                                                                             were listed,
            l1        Colorado did not require any           tion at all for an independent presidentiat
                                                                                                            candidate, or
            12        the presidential candidate of
                                                            unqualified pady; inst€ad, the candidate
                                                                                                           simpty had to
            L3        pay a filing fee ofg 1000,
         14                  9.     Arkansas, which, as rccenuy as 1996,
                                                                                   let any independent presidential
                      candidate, or the presidential
                                                                     ofan unqualified party, on the ballotjust
                                                                                                                          by
         16          request; no fee nor petition was
                                                                rcd. The Arkansas 1996 balot had
                                                                                                         13 presidential
        1',7         candidates. Afterwards Alkaff
                                                            staited I equiting 1 ,000 signatures
                                                                                                    for such candidates.
        18                  10. Howeve! the sta             tJrat have required nrore rhatr
                                                                                              5,000 signatu.es lbr such
        19           "outsider" candidates, but             t always far lbwer than 5e00e have
                                                                                                       never had morc
        20           than 8 candidates, The list of           40I instances in which a state required .butsider,,
        21           candidates to submit a Defi            of more than 5,000 signatures (or, in ihe
                                                                                                                case of
        22           California, rcqBired newly,quali           paltles to have at least 5,000 registercd
                                                                                                             members)
                   is in the Appendix.

                           11. The list of40l ins               where states requircd more than
                                                                                                      5,000 signaftnes
       25        shows that, 33o/o of the tjme,              independent presidential cffrdidatg
                                                                                                       or ptesrdential
       26        candidate of an unqualifi ed               was able to complcte the petition
                                                                                                  and get on the ballot
       27        (134 instances). It another 20yo
                                                            of the instances, only one independent candidate
                                                                                                                     or
                 unqualifi edparty successfu lly
                                                              eted the peiition (82 instances).
                                                                                                   In yet another 20%



                                                                                ift pi'ilfi ';.:; fiai-;i-
                   IN SU}PORT OF OPPOSJTION TO                                  DEcLAMTIoN op
                                                             ron ruo*r.r' o u
                                                                                                     ffi S ;J3."ff i^fl
Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 6 of 10 Page ID #:672
   Case 2i16-cv-03242-t4WF-cJS                  Documtnt 63-g Filed 06/30/L7 page S of 9 page tD#:488




                       of the instances, only two                idates qualified (also g2 instances). .therc
                                                                                                                      werc an
                       additional 13% ofthe instanc        where three candidates were able to
                                                                                                       complete the petition
                 3     and qualig. (51 instances). In        ofthe instances, four candidates were
                                                                                                            able to complete
             4         the petition (33 instances).          4%o of tha instances, five candidates
                                                                                                               qualified (15
             5         irstances). Finally, iu 1% of        instances, six caudidates complefed
                                                                                     the petition hurdle
             6 (4 instances). Therc is not o11e ingle
                                                      tlstance whon more than six candidates or parties
             7 successfu lly oompleted the
                                                      In other words, out ofthe 401 historical instance6
             8 wherc a state required more
                                                   5,000 signahnes to access the ballot     petition,        by               no
             9        more than six independent or unqualified party
                                                                                   candidates successflrlly r€ached the
            10        ballot.
            l1                  12. Also, it is notable      at all four instances in which six petitions
                                                                                                                  succeed.ed
                      w€re il1lllilrois, a state which c                all petitions and petition signatures to
                                                                                                                    be valid
        t3            ifno challenge is made, even          the petition on its fac€ obviously lacks
                                                                                                               the r.equired
        l4 25,000 signatures. Bven one                                on a petition will succeed, ifthere is no
                                                                                                                  challenge.
        t5           For example, tle New paty gol on the
                                                                      ballot in Illinois with just one signature in 200
                                                                                                                              8.
        16           So, if lllinois is discounted,                  are no historical instances with more than
                                                                                                                        live
        17           successfu I "outsidel, petitions        a presidential ballot, wher€ the
                                                                                                      state requircd more
        18           than 5,000 signahxes.
        t9                  13. For rhe 2016               ion, Califon a required 17g,039 signaturcs for
                                                                                                                          an
        20           indepcndent presidential candi        te to get on the general election presidential
                                                                                                                  baliot. It
        7l is obvious from 1he extensive                   istorical record, that if tlle state interest in
                                                                                                                  a petition
       22            requirement is to keep the ball       1ir:m being over-cl.owded or confusing,
                                                                                                              the 17g,039
                 requrrement far exceeds what is             c9ssary.
                           14, To exacerbate this                    ymsumountablerequirement, Califomia,
                                                                                                                     unlike
                 many other states, also requires            the entirety of thes e I 7 g,03 9 signatffes
                                                                                                              be gathered
       26        within a 105-day window. This                        1696 sigmtules every day during tiat
                                                                                                                  window,
       27        not counting additional                    needed to account for the inevitable
                                                                                                         disquaiification
       28        of a portion of the signatures,



                     IN SI]PPORT O} OPPOSIT1ON TO            .   -                 DECLAnerrou osrrrc-c,utto wrucEnIN
                                                            foR JUDCI!4ENT O\ THL t reelrucsn r_rv
                                                                                                      vr,,r v r o])crr,tnnr
Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 7 of 10 Page ID #:673
    Case 216- cv-03242-MWF-GJS                Document 63-3 Filed 06i30i17 page 6 of             9 pagetD#:489


                  I
                 2

                 3

                 4

                 5

              6

              7              16. california allows presidentialpdmary candidatos
                                                                                            access to the ba'ot with
             8
                                                 and np fee, if they are
                                                                           senerally advocated for or rccosnued
               :11"t:*i:o:::"rer,
             9 throughout the United tates   S       of Ca[for.r 1a as actively seeking the
                                                                                              nomination ola maj or
            10        ol qualrlred parxy for presideni. In
                                                             the Libertadanpresidontial primary
                                                                                                      in Califomia in
            1I        ,:," ,1":.                 were listed. Havirg rwetve candidates
                                    "1:1ou,"r                                                   on rhar presidenrial
         t2           primary ballot did not cause r]gter
                                                             conflrsion or any other apparent larm.
                                                                                                             tfLe 2016
         l3           uemocratro presidential p mad,in
                                                             califomia risted seven candidatcs, and
                                                                                                           thatdoesnot
         t4 seem to have caused
                            I7. Reasonable rtq                ts canJ of coutse, be implemented by
                                                                                                              srares to
         l6 prevent "vanity candidates,'
                                                         unnecessarily over-cowding a presidential
                                                                                                             ballot. In
        l7 my opinion, a ,.vanity candi                 ' is one who iacks even a modicum
                                                                                                 of suppon.
        18                  18. Such plesidential         idates,i.e, those without a modicum
                                                                                                   ofsupport, have
        t9 historjcalty never been able to
                                           btain even 5,000 signatures. None
                                                                                                  of th€ pafiies or
        20           candidat€s list€d in the Appeodi
                                                        all ofwhom sur.mounted a petition
                                                                                               hurdle ofmorc than
        2l J,000 signatures, were vanity
        n                  19. The only i                 presidential candidates who have
                                                                                                  ever sumounted
                 a petition hurdle greater tlan         000 signatures in United States presid€ntial
                                                                                                              geflelal
       24  election histoly werc Ross pero John
                                                 Anderson, Ralph Nadeq Eugeae McCafihy,
                                                                                                and
          Lyndon taRouche. Dwight Ei
                                                   is list€d in the Appendix, because
                                                                                       he qualified
       26 as an independent candidate
                                             South Carolina in 1952, whioh requued
                                                                                            10,000
       27 signatures; also, Hany F. Byld
                                           listed, because irdependent electors
                                                                                   pledged to him
          qualified in 1956 in South
                                               All ofthe othel enhjes in the Appendix
                                                                                          wele the


                 IN SUPPORT OF OPPOS IIION TO                               oe.c,_aRArroN   otEaF;nolmEEi.
                                                         rVtr J U UUM TN I OV THE PLSA.DINCS,SIJ|!l\4ANY
                                                                                                           TUDCMFNT
Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 8 of 10 Page ID #:674
    Case 2:16-cv-03242-MWF-cJS                  DocumPnt 63-3 Fited 06/30/17 pageTotg page
                                                                                                                   tD#:490




                        presid€ntial nominees ofmindr partics,
                                                                     and virtually all ofthem had histodcal
                                                                                                                   and social
                        significance.
                  3

                 4      in American political campaipns.
                                                         More speoifically, in modern times, signatures
                                                                                                        for
                 J political petitions are genemllli
                                                     acquirecl on a ,lrriceper         signature,, basis. This price can
                 6      vary by state, dishict, electio4 cycle, and
                                                                          urgency (impending deadtine). All national
                 ,7
                        candidates, generally advocaled for
                                                                   or rccognized throughout the United States
                                                                                                                              as
                 8      aotively seeking the office of president
                                                                         utilize the selices of compaaies that gather
              9        signaturcs fol a fee. In 20i6, tliey included
                                                                          Hillary Clinton, Donald Trump, and Bernie
            10         Sanders,

            1l                21. In addition to           statutofily prescdbed number of qualified
                                                                                                               signatures, a
            12         prudent candidate will pro          ively gather a cushion of appr.oximately 50%
                                                                                                                       mor.e
            13         signatures than requil€d,
                                                            a pel certage ofsignatures is generally
                                                                                                           disqualified for
            I4 vadous reasons, such as addte
                                                           , identificatior and tegistration complications
            15               22. Baseduponthe 17 ,03 9 rcquircd signatures in California for
                                                                                                            an independent
         16           presidential candidate in 20 i 6,
                                                             the prudent gathering ofan additional
                                                                                                           50% signatules
        17            within thc 105-day yi indow,         independeft prcsidential candidate would
                                                                                                                 needed to
        t8            obtain 267.058 signatures in 20 6. The
                                                                   expense ofthis petition circulation
                                                                                                               would have
                      been asfi.onomically high io              for the general presidential ballot in
                                                                                                             Calitbrnia in
        20            2016 via petition.
        2l                  23. In California, no                de petition to place an independent presidential
        22            candidate has succeeded since 1f92.
                                                                when seif_fi:nded billionaire Ross p€rot
                                                                                                                 qualitied
                      a8 an independert prcsidsntial

       24                   24. Califomia requires              signahues for independetrtpresidsntial
                                                                                                               candidat€s
       25            than all 49 other states. Ftoridafs petition
                                                                         requirement comes in a distant second
                                                                                                                         at
       26         appr oximately 60,000 fewe1. si
                                                                    California drs
                                                                               ard r.rurr(ra
                                                                                   Florida are tne
                                                                                               the only two
                                                                                                        rwo          srates
                                                                                                                     statcs
       27         in the nation that required more
                                                                100,000 signatues in 2016, The lowest
                                                          {an                                                   slgnatur€
       28        requiremont for independent                    tial candidates was 275 in Tennessee in
                                                                                                               z0l 6. The
                                                                     7

                      IN SUPPORT OI OPPOSITION TO MOTI                           oec-ener rol op nrdE,qna wnqcTn n r
                                                            FOR J(JDG VE\T Or{ TtrE p t eelr,r
                                                                                                 csrs url ti,rm v rupct,mr
Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 9 of 10 Page ID #:675
    Case 2:16-cv-03242-tVWF-cJS Documpnt 63_3
                                                                            Filed 06/30/17 pagegofg page ID#:49j.




                                         t"Ytrequired sisnatwes throushout the united
                               i"i:: in
                          ] ll candidate
                          2lf                2016 was 5,000; some 173,039
                                                                                                    states for ar independent
                                                                                 less than Califo ,nianZOtS;.
                                     ,-:: An indefenderrpresidential candidare seeking access
                          I lltl t,.                                                          to the genert baltor
                                     ,, states jn 2016 wogld have needed to gather approximately
                      lll                                                                                      821,368 vatid
                                                       Caiifoinia,s t?8,039 signatule requhements
                      I ]l :rt**rer- l"*.ver,                                                             in 2016 accounted
                      6    for over 21.7/o of all siqnatures rfequired
                                                       _
                        lJ                                             nationwide.             Likewise, Califomla, would
                          -ll*n*r:"-, *"j,r t 7oz.of the roral cost ofacces
                     j jl                                                        sing the ba ot in all50 states via petirion.
                                            The nationwide tr.end logarding petition
                     lll ,,  it:.
                         O",:"*
                                                                                               signature leqrhements fol
                                                     has been] towards a sigdficanr
                                                                                         leductiou in either rhe required raw
                ,lll      ot-"**dares
                ru numbol *   sjgnafui€s, or the
                          ll                              ue bercentaqe    v^rde,
                                                             percentage of yoteIs,
                                                                        signatures
            , : ll          :,r.".,*.:,
                                     .                                  "i^-.i,-^^ needed. For example,
                 "_                     requireri signarure sby 7,1%, ftom2t,175
                                                                                   to exactly 5,000. See
            llll :.*r],"r"t"-**ced
            t.r)::::y:r"*:4)v.                      cottez, slt2 cv_02726-LS,p.1,
                                                                                           !f 2 (E,D.p.A.Iune 30,2016).rn
                                     t-ema rcgrslature pro-dcrively reduced
                I fl l,]. ' "
                                                                                  the required number ofsignahres
            .                                                                                                         for an
                                                   10,000t0 5,000 vA s.B. oeo, cri. s;,neg.
         ::il:ir":'ii"1*1rldateby50%Jftom
         ts    Mrrch 18,2016. On April 3, thf Marytand
                                                                                               sess.,
                                                         House passed I{B 529. It lowers
            f]                                                                           the number
                           :_r:":**
         lo li ofsigDatures for astatewide tlelendent
                            -,.Lrlarowlqe              from 1%ofthenumbet ofregistered
         __ ll                                                                              voters to
                       10,000_signatur.es.                 rti
                                               oklahona senate has passed fwo bi ,
        l:ll:::.ir          ru 145 passed 4t_2 on March 8. rt eriminates
                                                                                       taut i.pror,"

        ]:li :r1,", ".:*'
        le rnoependeol
                                                                                                therlr*0",o,rne;;;;;;
                                          presidential candjddtes_  and,he
                                                               t€s, and     hFa;.t.", i"I nominees
                                                                        the pr€sidential           -r
                                                                                          -^*:-^^^ ofunqualifiedparties,
        zo                if they pay a filiag fee of $17,5
                     ll
        2l
        22                      ,:        This rend towards a raw number
                                                                                ofrequired signarures is sound. Using
        ::ll -                                                                                                           a
                                                       voters     not an accurate reprcsentation of potenriat
        : ll :::::::'
       24 ll because the :t':Bistered
             ,*"^"       basi8 (number                of
                                                            [s                                                    suppoft
       :- ll                      :,"    ".,^ \rumoer orreglsteled voters) is an inlerently misleading
                                                                                                             number. The
                                         *r:stercdvoters in           state is generatly inaccuate because
       ::             ::::,:l"t
       26 ll record keeping by the state,                     {eiven
                                                                as in Georgia (2) the fact that
                                                                                                           of(1) poor
                li                                                                              sevetal   shtes rn recent
       27 lJ yea$ have not maintained
                                                                      data on the number of registeled
                                                                                                          voters (such as
       28            Minnesota, Wisconsirq Mis                   l,
            lJ




                          }N SWPORT OF OPPOSITION TO

                                                                  'o*'uoo'"*
                                                                                  o* f   #ltH$,iilffi ffi
Case 2:16-cv-03242-MWF-GJS Document 80-2 Filed 09/25/17 Page 10 of 10 Page ID
                                   #:676
 Case 2:16-cv-03242-MWF-cJS Documgnt 63-3 Filed 06/30/17 page 9 of 9 page lD #;492




                                      aace..sS tOlhp




                                        lhe.:reiiqiqlio,t6t.Oai1yinqqE .ts prOrriOiUve-ty


                                                             q, or oedld4ter or fl]o:ballot




                                                                              :JuDo.!vmt'l
